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FILED
UNITED STATES DISTRICT COURT on
MIDDLE DISTRICT OF FLORIDA 2016 AVE 1B ABT 52
JACKSONVILLE DIVISION pee ten unt te ween
CLERM, US GStRil: Ca!
MIDDLE DISTRICT OF FLORI
JACKSONVILLE BISTRICT
)
THE UNITED STATES OF AMERICA and THE ) Civil Action No.:
STATE OF FLORIDA ex re/. DOUGLAS ) 3. ILs av i 0S 4 - J- Ze Week.
MALIE, )
)
Plaintiffs, )
)
vs. )
) FILED UNDER SEAL
FIRST COAST CARDIOVASCULAR ) Pursuant to 31 U.S.C. § 3730(b)(2)
INSTITUTE, P.A.,YAZHAN KHATIB, M.D., and )
VAQAR ALI, M.D., )
Defendants. )
)

 

RELATOR’S UNOPPOSED MOTION TO SEAL
PURSUANT TO 31 U.S.C. §3730(b)

Relator DOUGLAS MALIE, by and through undersigned counsel, moves pursuant to
Local Rule 1.09(b) to seal the Relator’s Complaint and this motion for a period of 60 days from
the filing date of August 17, 2016 for the following reasons:

1. 31 U.S.C. §3730(b)(2) provides that a False Claims Act “complaint shall be filed
in camera, shall remain under seal at least 60 days, and shall not be served on the defendant until
the court so orders.”

2. The statute authorizing the requested sealing is 31 U.S.C. §3730(b)(2).

3. The proposed duration of the seal is 60 days from the filing date of the complaint.

4. The item submitted for sealing, the Relator’s complaint, is authorized to be sealed

by 31 U.S.C. §3730(b)(2).
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LOCAL RULE 3.01(G) CERTIFICATION
Undersigned counsel has conferred with AUSA Randy Harwell who has advised that the

Government does not oppose this motion.

Respectfully Submitted,

Date: August 17, 2016 la) Pe
Kevin J. Darken
Florida Bar No. 0090956
kdarken@tampalawfirm.com
THE BARRY A. COHEN LEGAL TEAM
201 East Kennedy Boulevard, Suite 1950
Tampa, Florida 33602
Telephone: (813) 225-1655
Facsimile: (813) 225-1921
Attorney for Relator
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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that the foregoing Motion to Seal has been furnished by hand
delivery to: Lee Bentley, United States Attorney, United States Attorney's Office, 400 N. Tampa
Street, Ste 3200, Tampa, FL 33602; by Federal Express to: Loretta E. Lynch, United States
Attorney General, Dept. of Justice, 950 Pennsylvania Ave., N.W., Washington, D.C. 20530-0001;
and by regular mail to Pam Bondi, Florida Attorney General, Office of the Attorney General, The
Capitol PL-01, Tallahassee, FL 32399-1050 and Jeff Atwater, Chief Financial Officer of the State

of Florida, 200 E Gaines Street, Tallahassee, FL 32399 on this 17th day of August 2016.

bp RL

Kevin J. Darken

 
